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Filed 11 September 1 P2:52

2011-52580 / Court: 234 Harms Gunty
ED101J016477714
CAUSE NO. By: Nelson Cuero
HALLIBURTON ENERGY SERVICES, § IN THE DISTRICT COURT OF
INC., §
Plaintiff §
§
Vv. §
§ HARRIS COUNTY, TEXAS
BP EXPLORATION & PRODUCTION, §
INC., BP AMERICA PRODUCTION §
Co., and BP p.Lc. §
Defendants. § JUDICIAL DISTRICT

PLAINTIFF HALLIBURTON ENERGY SERVICES, INC.'S ORIGINAL PETITION

Plaintiff Halliburton Energy Services, Inc. ("HESI") files its Original Petition against
Defendants BP Exploration and Production, Inc. ("BP Exploration"), BP America Production
Company, ("BP America"), and BP p.l.c. (collectively "BP" or the "BP Parties"), and in support
of its causes of action, respectfully shows the following:

I.
NATURE OF THE CASE

1. On April 20, 2010, a blowout occurred on the Deepwater Horizon in the Gulf of
Mexico at the Macondo well (the "Blowout") that killed 11 people, injured many others, caused
an extensive oil spill, and resulted in arguably the largest civil litigation in United States’ history
(the "Blowout Litigation"). Since the Blowout, and in a transparent attempt to minimize its
liability, BP, the operator and leaseholder for ‘the Macondo well, has intentionally and
continually misrepresented its role in the Macondo tragedy by concealing its own conduct that
caused the incident and the actions BP failed to take to prevent it. Specifically, BP published a
self-serving report that supposedly took into account all of the then-known facts surrounding the
tragedy including, among other things, the location of all hydrocarbon-bearing zones in the well

(the "Bly Report"). In essence, the Bly Report categorizes HESI’s primary cement job as a root

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cause of the Blowout purportedly lending support to the allegations against HESI in the hundreds
of lawsuits that comprise the Blowout Litigation. The Bly Report, however, intentionally and
deliberately omits the critical fact that BP knew or should have known about an additional
hydrocarbon zone in the well that BP failed to disclose prior to HESI's designing the cement
program for the Macondo Well and that BP, unsurprisingly, failed to disclose after the Blowout.
2. Because BP did not disclose this upper hydrocarbon zone to HESI, HESI was
unable to account for it when formulating the cement program that was intended to isolate the
well from the influx of gas and oil. BP was solely responsible for identifying all hydrocarbon-
bearing zones in the well and for identifying where the designed top of cement ("TOC") should
be located in order to isolate all such zones. When BP identified the TOC for purposes of HESI's
cement program, HESI justifiably relied on BP to identify the TOC in relation to the highest
hydrocarbon-bearing zone in the production interval and/or otherwise disclose the location of the
highest hydrocarbon-bearing zone to HESI. BP failed to disclose this information and as a
result, has significantly damaged HESI. The motive behind BP’s intentional nondisclosure of
this upper hydrocarbon-bearing zone is apparent—profit and greed. Had BP disclosed the higher
hydrocarbon zone to HESI, HESI would not have pumped the cement program unless and until
changes were made to the cement program, changes that likely would have required a redesign of
the production casing. Such changes would have cost BP millions of dollars on a well that was
already painfully over budget and behind schedule. Regrettably, and consistent with its mantra
that “every dollar counts," BP chose to not stop work and redesign the well before going forward
with its temporary abandonment procedures, in favor of saving time and money at the expense of
safety, resulting in the death of 11 men, countless other injuries and an unprecedented oil spill.

3. As it did before the incident, BP has made every effort to conceal this fact from

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HESI and the public following the Blowout. In addition to intentionally omitting this
information from the Bly Report, BP also purposely withheld the value and impact of this
information from the various investigative bodies, ‘including the Coast Guard, the Department of
Justice, the United States Congress and the Presidential Commission on the BP Deepwater
Horizon Oil Spill and Offshore Drilling ("National Commission"), that interviewed and solicited
testimony from BP as part of their investigations into what caused the Blowout. In fact, HESI
only recently learned of BP’s cover up scheme during discovery in the Blowout Litigation. BP’s
conduct should not be countenanced. Indeed, BP’s malicious and intentional failure to disclose
this critically important information after the incident in hopes of covering up its own
culpability, and its actual publication of false statements with regard to it, is tortious, has
damaged HESI, and warrants the imposition of exemplary, punitive damages.

Th. -
DISCOVERY CONTROL PLAN

4, HESI intends to conduct discovery under Tex. R. Civ. P. 190.4 (Level 3).

Il.
THE PARTIES
5. HESI is a Delaware corporation with its principal place of business in Texas.
6. BP Exploration is a Delaware corporation with its principal place of business in

Harris County, Texas. BP Exploration may be served through its registered agent for process at
CT Corporation System, 350 N. St. Paul Street, Dallas, Texas, 75201.

7. BP America is a Delaware corporation with its principal place of business in
Houston, Texas. BP America may be served through its registered agent for process at CT
Corporation System, 350 N. St. Paul Street, Dallas, Texas, 75201.

oo DNR
8. BP p.l.c. is a British public limited company with its corporate headquarters in

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London, England. BP p.l.c. is the global parent company of the worldwide business operating
under the "BP" logo. BP p.l.c. operates its various business divisions, such as the "Exploration
and Production" division in which both BP Exploration and BP America fall, through vertical
business arrangements aligned by product or service groups. Defendants BP Exploration and BP
America are wholly-owned subsidiaries of BP p.l.c. and are sufficiently controlled by BP p.l.c.
so as to be BP p.l.c.'s agents in Texas and the U.S. more generally. This Court has jurisdiction
over BP p.l.c. pursuant to Texas’ long-arm general jurisdiction statute, Tex. Civ. Prac. & Rem.
Code §17.042. BP p.l.c. does business in Texas, has had continuous and systematic contacts
with Texas (and the U.S. more generally). Service of process on BP p.l.c. is proper through the
means authorized by the Hague Convention On the Service Abroad of Judicial and Extrajudicial
Documents in Civil or Commercial Matters.

IV.
JURISDICTION AND VENUE

9. This Court has subject matter jurisdiction over HESI’s claims against the BP
Parties because the relief sought falls within the jurisdictional limits of this Court pursuant to
Tex. Civ. Prac. & Rem. Code § 37.003.

10. Venue is proper in this judicial district pursuant to Tex. Civ. Prac. & Rem. Code §
15.002(a)(3) because BP's principal office is located in Harris County, Texas.

V.
FACTS

Il. The BP Parties owned and operated the Macondo Well. As such, BP controlled
the majority of the data and empirical information relating to actual well conditions, including
data used to identify the highest hydrocarbon zone in the production interval of the well. The
location of the highest hydrocarbon zone in the production interval is critical information

necessary to properly design and execute a primary cement job to cement production casing.

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Further, BP knew that HESI, as a cementing service contractor, would rely, and BP intended
HESI to rely, upon this closely-held information that BP supplied in making decisions as to how
to effectively proceed with its cementing services. Despite this fact, BP knew, but failed to
disclose to HESI, the existence of the highest hydrocarbon-bearing zone in the production
interval. After the incident, BP has and continues to affirmatively conceal this same information
not only from HESI but also from the public and the governmental investigating bodies.

The Macondo Well was Drilled Through Pressurized Formations.

12. The Macondo Well was drilled for the purpose of reaching a potential
hydrocarbon reservoir located more than 18,000 feet below sea level. In order to reach that
reservoir, the drilling crew of the Deepwater Horizon, under BP's direction, drilled downhole
from the sea floor a section at a time. These sections are called "intervals." The engineering and
technology necessary to drill a deepwater well in, the Gulf of Mexico are both significant and
complex. However, as a general matter, well sections are drilled out and then reinforced with
metal casing or liners that are then cemented into place. Once one interval is drilled, reinforced
and cemented, the drilling crew then drills ahead (or down) into the next interval and repeats the
process until the wellbore intersects the target reservoir zone. The lowest section in the well
where the wellbore intersects the reservoir zone is typically called the "production interval,” or
the interval from which hydrocarbon from the reservoir zone will later be produced.' The
interval principally at issue in this case is the Macondo Well's production interval.

13. When the drilling crew on the Deepwater Horizon drilled the production interval,
it drilled through geological formations call "sands" that potentially contained a variety of

formation fluids (i.e., oil, gas, water). While the target reservoir zone at the bottom of the

' At the Macondo Well, BP intended to drill the well with the Deepwater Horizon rig and then temporarily abandon
the well, BP then intended to come back to the Macondo Well with a different rig—~a production rig—to "produce"
the well, which would have involved perforating the production casing and annular cement in the vicinity of the
reservoir sands thereby allowing hydrocarbons to flow into the production casing and up to the production rig for
recovery.

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production interval was a "sand," the crew had to drill through other thinner sands higher up in
the interval to get there. To the extent these higher sands in the production interval contained
hydrocarbons, they were not considered commercially viable (i.e., they were not "pay" sands or
zones). Nevertheless, these higher sands were pressurized, and the pore pressure of these sands,
if not overcome, would cause their formation fluids to flow into the wellbore. The unintended
influx of hydrocarbons into a wellbore is anathema to sound drilling principles and, therefore, the
drilling crew and BP intended to drill while maintaining greater pressure in the production
interval in order to overbalance the pressures exerted back by the formation.

14. To ensure that formation fluids do not influx into the wellbore while drilling, a rig
crew generally drills with weighted "drilling mud" in the hole. The drilling mud is a viscous
fluid of engineered density which, among other things, is intended to overbalance and hold back
pressurized fluids in the sands. The drilling mud, and more particularly its density, also needs to
be engineered so that the force exerted by it onto the formation does not exceed the formation's
"fracture gradient," which is the force or pressure at which the geologic formation would
fracture. Thus, the drilling mud in the wellbore must be of sufficient density to hold back fluids
in the formation but not so dense as to fracture the formation geology.

To Prepare for the Primary Cement Job, HESI Justifiably Relied on BP To Identify the
Highest Hydrocarbon-Bearing Sand.

15. | After the Macondo Well was drilled to Total Depth ("TD"), BP ran a continuous
production casing string into the hole from the sea floor all the way down into the production
interval. Once the production casing was in place, BP authorized HESI, as the cementing
contractor on the rig, to execute a "primary" cement job, which is a cement job designed to
cement the production casing into place. A primary cement job has two principal goals. First, it
attempts to place cement into a predetermined or designed location in the production interval.

Second, the cement, once placed, is intended to achieve "zonal isolation" in the production

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interval.

16. To execute the primary cement job, cement is pumped from the rig down the
inside of the production casing. When the cement exits the bottom of the production casing in
the production interval, pumping pressure causes the cement to turn and flow up into the space
between the outside of the production casing and the formation. This space is called the
“annulus” or "annular space." The principal objective of the primary cement job is to have the
cement turn the corner at the bottom of the production casing and flow up into and seal off this
annular space such that formation fluids from the production interval's exposed sands cannot
flow into the wellbore. In other words, the cement is intended to hold back the fluids in the
formation sands, including hydrocarbons, and prevent them from entering the wellbore.
Successfully sealing off this annular space such that formation fluids in the sands cannot flow
into the wellbore is called achieving "Zonal isolation."

17. Prior to executing the primary cement job on the Macondo Well's production
casing, HESI and BP engaged in an iterative process to design the cement slurry that would be
used and to finalize a cementing plan for executing the job. As the owner of the Macondo Well,
BP has ownership of, and a proprietary interest in, much of the data associated with the well,
including but not limited to data gathered by service contractors regarding certain downhole
conditions and the location of potential hydrocarbon-bearing sands in the production interval.
Thus, HESI justifiably relied on BP to provide it with certain data inputs for purposes of
designing, modeling and executing the primary cement job. HESI’s cementing team does not
have access to this information independently and must obtain it from BP.

18. One of the key data points or parameters for designing a primary cement job is
called "top of cement" or "TOC." TOC refers to the height of the cement column pumped into
the annulus. The TOC is a critical component of the primary cement job design as it is the key

driver of the cement volume to be pumped. The cement column in the annular space should

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extend a sufficient distance above the highest hydrocarbon-bearing zone in the interval in order
to properly isolate that zone and the zones below it. The height of the cement needed to isolate
the zones is dependent on a variety of factors that can be modeled, including but not limited to,
the pore pressures of those zones. However, at a minimum, federal regulations require that TOC
be placed at least 500 feet above the highest hydrocarbon-bearing zone in the production
interval. See 30 C.F.R. § 250.421.’ Therefore, in order to properly determine the designed TOC
for zonal isolation and to satisfy the applicable federal regulation regarding TOC, it is critical to
know the specific location of the highest. hydrocarbon-bearing sand in the production interval
and its pore pressure. As set forth below, BP intentionally concealed the highest hydrocarbon-

bearing zone in the production interval from HES] both before and after the incident.

BP Intentionally Concealed the Higher Hydrocarbon-Bearing Sand
From HESI.

19. BP hired service contractors to run a variety of "logs" during the drilling of the
Macondo Well. These logs are designed to provide preliminary information to BP about the
well, including but not limited to the geology and location of sands in the well. However, after
drilling was completed to total depth and before the primary cement job, BP hired Schlumberger
to perform a suite of "wireline" logging runs in the open hole of the production interval (i.e.,
before production casing was run in the hole). Wireline logging is typically done after drilling is
complete to get the most accurate and. comprehensive. data possible about the location of
hydrocarbons in the well. At the Macondo Well, BP used data gathered from wireline logging to
determine the location of the highest hydrocarbon-bearing zone in the production interval. The

wireline logging operation took place on the Deepwater Horizon from about April 10 to April

* Top of cement (TOC) can only be estimated prior to the cement job. A variety of factors can contribute to TOC
not achieving its estimated or theoretical height. To determine whether the actual TOC (where the top of cement is
located after the cement job) is consistent with the theoretical TOC (as estimated prior to the cement job), BP, as the
well owner, could have run a cement evaluation technique such as a cement bond log ("CBL"). However, despite
having a service company on the rig to run a CBL after the primary cement job, BP chose to forego the CBL on the
Macondo Well.

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15, 2010. BP personnel traveled to the rig to observe the wireline logging operations.

20. One of BP's responsibilities was to‘identify the hydrocarbon-bearing sands in the
production interval. To discharge this responsibility, BP reviewed wireline data and analysis
from the ongoing wireline logging operations. One of the wireline logs is called a "Triple
Combo," so named because it contains three (3) tracks of data—a gamma ray curve, resistivity
curves, and the density/neutron curves. The gamma ray log indicates the presence of a sand
formation as distinguished from, for example, a shale formation. The resistivity curves measure
the resistivity of formation fluids in the formation. Hydrocarbons are non-conductive compared
to brine or salt water. Therefore, the difference in resistivity readings between hydrocarbons and
salt water give a preliminary indication of the potential presence of hydrocarbons in a formation
sand. The density/neutron curves plot formation porosity and permeability. The intersection (or
crossover) of these two plots is a gas signature, or an indication of the presence of hydrocarbons
in a particular sand.

21. On or about April 13, 2010, BP identified what it claimed was the
shallowest/highest hydrocarbon-bearing sand in the production interval and provided that
information to its drilling team on the Macondo Well so that it could be used in cement
procedure preparations. Relying on the Triple Combo log, the processing of which was complete
on April 13, 2010, BP identified that the highest hydrocarbon-bearing zone was located at a
certain depth. The depth of this sand was provided to the BP drilling engineers for the specific
purpose of planning HESI's cement job. Then, the BP drilling team informed HESI to design a
cement job procedure that would place TOC at approximately 500 feet above the sand BP
identified as the highest hydrocarbon sand in the production interval.

22. | However, what BP represented to HESI as the highest hydrocarbon-bearing sand
in the production interval was wrong. Rather, a higher sand existed that was noted on all three

tracks of the log (the "Concealed Sand"). BP never disclosed the Concealed Sand to HESI or

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disclosed that there was a gas signature in a sand higher than the one previously identified as the
highest hydrocarbon-bearing sand. In fact, BP intentionally withheld this information with
regard to the Concealed Sand, initially to save time and money, and then later to cover-up BP's
culpability for the Blowout.

23. In the days following April 13, but prior to April 20, BP performed further data
analysis and confirmed, on April 20, 2010 (the day of the incident), that the Concealed Sand was
in fact the shallowest hydrocarbon-bearing sand. ‘Despite confirming that the Concealed Sand
was in fact the highest hydrocarbon-bearing sand, and despite knowing that HESI relied on BP's
identification of the highest sand to plan the cement job, BP failed to inform HESI that BP knew
(or should have known) there was a higher hydrocarbon-bearing sand in the production interval
and knew the TOC it provided to HESI (that HESI relied upon to design the cement program)
was wrong. HESI relied on the erroneous information BP provided and planned the cement job
with the understanding that the sand BP identified was the highest hydrocarbon-bearing sand,
which it was not.

24. BP had incentive to ignore the hydrocarbons in the Concealed Sand. If BP
identified the Concealed Sand as a hydrocarbon-bearing zone, federal regulations would have

required TOC for the production interval to have overlapped into the previously cased section of

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the well (higher interval), which is contrary to BP’s well design protocol and would have
required BP to redesign the production interval. Redesigning the production interval likely
would have cost BP millions of additional dollars for a project that was already over budget and
behind schedule. Accordingly, BP did not have the appetite for investing millions of dollars in
additional costs in the Macondo well, especially when the costs could be avoided by simply
refusing to acknowledge the Concealed Sand as a hydrocarbon-bearing zone, which it was.

25. | Moreover, had HESI known about the Concealed Sand it would not have pumped

the primary cement job in the production interval until changes were made to the cement

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program, changes that likely would have required a redesign of the production casing. The fact
that HESI would not have proceeded with the primary cement job is not post hoc speculation.
Prior to the primary cement job, HESI ran computer modeling simulations of the cement job
using a proprietary software program called OptiCem. HESI provided written reports from
OptiCem to BP prior to the cement job. HESI generated an OptiCem report using 21 centralizers
(devices used to centralize the production casing in the hole to affect the proper and efficient
radial flow of cement up the annulus). That OptiCem report predicted that the modeled cement
job, among other things, would present a "LOW" gas flow problem. Subsequently, BP decided
to use only 6 centralizers. When HESI updated the centralizer information and generated a new
OptiCem report on April 18, 2010, modeling 7 centralizers (one more than BP decided to use),
the report predicted that the modeled cement job would present a "SEVERE" gas flow problem.
In addition, using the very same ‘data included in the April 18, 2010 OptiCem report, but
updating the model only to include the Concealed Sand, the OptiCem report would have
instructed HESI and BP as follows:

Based on analysis of the above outlined well conditions, this well

is considered to have a CRITICAL gas flow problem. Ifa gas flow

potential of greater than 15 is calculated, then changes should be
made....

The gas flow potential in this OptiCem report would have a value higher than fifteen; thus, given
this result, HESI would not have gone forward with the cement job unless and until changes
were made to the cement program, changes that likely would have required a redesign of the
production casing. Simply put, disclosing the Concealed Sand to HESI, or a TOC based on the
Concealed Sand, would have forced BP to incur millions of additional dollars in costs associated
with the Macondo well and a significant peridd of additional time before the production interval
could have been cemented. Rather than incur these costs, BP chose to not disclose the

Concealed Sand to HESI.

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BP’s Cover Up Continued Post-Incident

26. Following the Blowout on the Deepwater Horizon, BP petrophysicists continued
to review the wireline logs relating to the Macondo Well. No new wireline logs were run post-
incident. Instead, post-incident review of the previously existing wireline logs—that were fully
completed by April 13, 2010 and that were reviewed by BP on the same date for the purpose of
initially identifying (erroneously) the highest hydrocarbon zone—confirmed the presence of the
Concealed Sand as a hydrocarbon-bearing sand. oe

27. Despite knowing about the Concealed Sand both before and after the Macondo
Well incident, BP has purposefully hidden it from the public and from HESI. BP's own internal
investigative report, the Bly Report, released to the public on or about September 8, 2010,
purports to be an objective analysis of what caused the Blowout and claims to be based "on the
information available to the investigative team during the investigation[.]" Yet, despite
information about the Concealed Sand being available to the investigative team, it is nowhere
mentioned in the report. Rather, on page 54 of the Bly Report, BP depicts all other sands (with
their corresponding pore pressures) in the production interval except the critical Concealed Sand.
Furthermore, the Bly Report cryptically states in fine print: "Sands are based on geology known
at the time of the accident." This statement is patently false. BP knew about the Concealed Sand
even before the Blowout occurred. However, instead of acknowledging this critical well
condition, BP selectively and self-servingly omitted reference to it in the Bly Report in its
attempt to cover up BP’s knowledge of the Concealed Sand and its own direct culpability for the
tragedy.

28. In public appearances and testimony before the Coast Guard, the United States
Congress and the National Commission—all of which were attempting to find out what
happened at the Macondo Well—BP never disclosed the existence, importance and impact of the

Concealed Sand, despite its awareness that its existence was critical to properly planning the

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execution of the cement job. HESI has justifiably relied upon BP's aforementioned
misrepresentations in conducting its business since the incident, specifically in how HESI
responded to investigations and inquiries from various agencies and entities and in issuing press
releases with regard to the tragedy, among others.

29.  HESI did not learn of BP’s intentional nondisclosure of the Concealed Sand until
a recent deposition in the Blowout Litigation.

30. _ BP’s tortious conduct has damaged HESI significantly. As a direct and proximate
result of BP’s cover up, including but not limited to publication of the Bly Report, HESI has
suffered and continues to suffer economic damages in an amount to be determined by the Court.
Moreover, BP’s aforementioned conduct warrants the imposition of exemplary damages to deter
BP from engaging in such egregious conduct in the future.

VI.
CAUSES OF ACTION

COUNT 1
(Negligent/Grossly Negligent Misrepresentation)

31. Paragraphs | through 30 are incorporated by reference as if fully set forth herein.

32. | BP made numerous post-incident false representations regarding the Macondo
Well hydrocarbon-bearing sands to HESI for the guidance of HESI’s business (and also failed to
disclose the existence, importance and impact of the Concealed Sand to Congress, the public,
and various governmental agencies). BP failed to exercise reasonable care with regard to the
statements made in its Bly Report and with regard to other representations and statements
pertaining to the Blowout and what caused it.. In,conducting its business by, among other things,
responding to various investigations and inquiries as to the cause of the Blowout, issuing press
releases and making other public statements, HESI justifiably relied, and BP intended that HESI

rely, upon BP's representations regarding the shallowest hydrocarbon-bearing sands and the

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resultant necessary top of cement. BP's failure to exercise reasonable care in making its various
statements and conclusions related to the Blowout proximately caused HESI injury and damages,
including pecuniary losses.

33. BP's negligent/grossly negligent misrepresentations also warrant the imposition of
exemplary damages.

COUNT 2
(Defamation/Common Law Libel/Slander)

34. Paragraphs | through 33 are incorporated by reference as if fully set forth herein.

35. BP, through its agents, employees and representatives, has made false and
defamatory statements and representations of fact as to HESI. These statements have been made
repeatedly to the general public, including in BP's Bly Report, and in testimony provided to the
Department of the Interior Joint Investigation Team, Congress and other governmental agencies.

36. BP made these false statements about HESI with actual malice, knowing they
were false, or with reckless disregard for their truth or veracity. These false, defamatory
representations have harmed HESI's business ventures, its reputation and character, and have
caused other special damages.

37, As a proximate result of BP's intentional, malicious, and/or reckless conduct,
HESI has suffered damages within the jurisdictional limits of this Court. BP’s conduct in this
regard warrants the imposition of exemplary damages.

COUNT 3
(Business Disparagement)

38. Paragraphs | through 37 are incorporated by reference as if fully set forth herein.
39. — BP, through publication of its Bly Report and various public testimony, made

false representations regarding the identification and location of the hydrocarbon-bearing sands

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in the Macondo Well and HESI's alleged failures with regard to cementing and sealing these
sands that disparaged HESI's business. BP's failure to disclose the identity of the Concealed
Sand has directly affected HESI's character and reputation in the oil and gas services industry
and HESI's business, and its disparaging statements about HES] are not privileged.

40. BP committed this business disparagement maliciously, with the specific intent to
cover up BP's own tortious conduct and shift blame to HESI.

41. As a result, HESI has suffered actual and special damages including, but not
limited to, lost profits, additional administrative expenses, and incidental damages. Additionally,
BP’s malicious conduct entitles HESI to recover exemplary damages in a sum to be determined
by the trier of fact.

42.  HESI reserves its right to amend these allegations as additional discovery and
evidence warrant.

Vil.
REQUEST FOR DISCLOSURE

43. Pursuant to Tex. R. Civ. P. 194, HESI requests that BP disclose, within 50 days of
service of this Petition and request, the information or material described in Tex. R. Civ. P.
194.2.

VITl.
DEMAND FOR JURY TRIAL/PAYMENT OF JURY FEE

44, | HESI demands a jury trial and tenders the appropriate fee with this Petition.

IX.
CONDITIONS PRECEDENT

45. All conditions precedent necessary for HESI to recover its damages have occurred

or will occur.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff HALLIBURTON ENERGY SERVICES, INC. prays that the

BP Parties be cited to appear and answer and that the Court award HES] judgment for:

a. all economic, actual, and consequential damages;

b. exemplary damages:

C. prejudgment and post-judgment interest;

d. costs and attorneys’ fees; and

e. all other relief to which HESI is entitled, whether legal or

equitable, general or special.

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Respectfully submitted
GODWIN RONQUILLO PC

/s/ Donald E. Godwin

Donald E. Godwin
Attorney-in-charge

State Bar No. 08056500

dgodwin @GodwinRonquillo.com
Bruce W. Bowman, Jr.

State Bar No. 02752000
bbowman @ GodwinRonquillo.com
Jenny L. Martinez

State Bar No. 24013109
jmartinez @ GodwinRonquillo.com
Floyd R. Hartley, Jr.

State Bar No. 00798242

fhartley @ GodwinRonquillo.com
Gavin E. Hill

State Bar No. 00796756
ghill@GodwinRonquillo.com
Renaissance Tower

1201 Elm, Suite 1700

Dallas, Texas 75270-2041
Telephone: (214) 939-4400
Facsimile: (214) 760-7332

and

R. Alan York

ayork @GodwinRonquillo.com
State Bar No. 22167500

Jerry von Sternberg
jvonsternberg @ GodwinRonquillo.com
State Bar No. 20618150

Misty Hataway-Coné

mcone @GodwinRonquillo.com
State Bar No, 24032277

1331 Lamar, Suite 1665
Houston, Texas 77010
Telephone: 713.595.8300
Facsimile: 713.425.7594

ATTORNEYS FOR HALLIBURTON ENERGY
SERVICES, INC.

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INTERNATIONAL ASSOCIATION OF DRILLING CONTRACTORS a

OFFSHORE DAYWORK DRILLING CONTRAG

T NTRACT CONTAINS PROVISIONS RELATIVE TO IN
RELEASE OF LIABILITY AND ALLOCATION OF RISK -
SEE PARAGRAPHS 501, 605, 606, 805, 1305 AND ARTICLE LX

THIS AGREEMENT (the “Contract”), dated the day of , 20 , Is made between
,a organized
under the laws of , located at
(hereinafter called “Operator”), and ,a
organized under the laws of , located at___

(hereinafter called “Contraé

WIIEREAS, Operator perating Area and to have
performed or carried out all auxiliary operations and services as detailed in the Appendices hereto or as Operator may
require; and

WHEREAS, Contractor is willing to furnish the drilling vessel together with drilling and other equipment (hereinafter
called the “Drilling Unit”), insurance and personnel, all as detailed in the Appendices hereto, for the purpose of
drilling said wells and performing said auxiliary operations and services for Operator.

NOW THEREFORE THIS CONTRACT WITNESSETH that in consideration of the covenants herein it is agreed
as follows:

ARTICLE J - INTERPRETATION

101. Definitions
In this Contract, unless the context otherwise requires:

(a) “Commencement Date” means the point in time that the Drilling Unit either commences jacking
operations or commences pulling anchors (whichever is applicable) preparatory to moving the Drilling
Unit to Operator’s first drilling location under this Contract;

(b) “Operator’s Items” means the equipment, material and services owned by Operator or which are listed
in Appendix D that are to be provided by or at the expense of Operator;

{c) “Contractor’s Items” means the Drilling Unit, equipment, material and services owned by Contractor or
which are listed in Appendices B or D that are to be provided by and at the expense of Contractor;

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(d) “Contractor’s Personnel” means the personnel of Contractor and Contractor’s subcontractors of any tier,
including but not limited to their employees, consultants and other persons to be provided by Contractor
from time to time in connection with operations hereunder;

(e) “Operator’s Personnel” means the personnel of Operator and Operator’s other contractors and
subcontractors of any tier, including but not limited to their employees, consultants and other persons to
be provided by Operator from time to time in connection with Operations hereunder or present in the
Operating Area;

( “Operating Area” means waters offshore of the state or area specified in Appendix A in which Operator
is entitled to conduct drilling operations;
(g) “Operating Base” means the place onshore designated by Operator and specified in Appendix A;

(h) “Affiliated Company” means a company or other legal entity which controls or is controlled by Operator
or Contractor, or which is controlled by an entity which controls Operator or Contractor. For purposes
hereof, control means the ownership, directly or indirectly, of fifty percent (50%) or more of the shares
or voting rights in a company or legal entity.

102. Currency
In this Contract, all amounts expressed in dollars are United States Dollar amounts.

103. Conflicts
Appendices A, B, C, D
Appendices conflicts wi

ce. If any provision of the

104. Headings S a :
The paragraph headings shall not be considered in interpreting the text of this Contract.

105. Further Assurances
Each party shall perform the acts, execute and deliver the documents and give the assurances necessary to give effect
to the provisions of this Contract.

106. Contractor’s Status
Contractor shall be an independent contractor in performing its obligations hereunder.

107, Operator’s Status

Operator enters into this Contract on behalf of itself and its co-venturers, co-lessees and joint owners, if any, and
agrees that Operator and only Operator may enforce any obligation or rights herein contained expressed or implied
to be for the benefit of Operator and/or the co-venturers, co-lessees and joint owners, and Operator and only Operator
may commence any action, claim or proceedings against Contractor resulting from, arising out of or in connection
with this Contract.

108. Governing Law
This Contract shall be construed, interpreted, enforced and litigated, and the relations between the parties

determined in accordance with the cen Maritime Law of the United States of America, not including,
however, any of its conflicts of law rules which would direct or refer to the laws of any jurisdiction.

ARTICLE I - TERM

201. Effective Date
The parties shall be bound by this Contract when each of ther has executed it (hereinafter referred to as “Effective
Date”).

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202. Duration
This Contract shall, subject to Paragraphs 203 and 204 below, be for the term specified in Appendix A.

203. Termination
This Contract shall terminate:

(a) immediately if the Drilling Unit becomes an actual loss or the date Contractor’s marine surveyor
determines a constructive or arranged total loss to have occurred;

(b} after the number of wells or on the date specified in Appendix A or, if operations are then being
conducted on a well, as soon thereafter as such operations are completed, and the Drilling Unit has been
safely jacked up or moored, whichever is applicable, at the demobilization location specified in Appendix
A (unless some other location or port is mutually agreed) and all of Operator’s Items have been offloaded,
whichever is latest; or

(c) in accordance with Paragraphs 707 or 802.

204. Option to Extend
Operator may extend the duration of this Contract for an additional period by giving notice thereof to Contractor as

specified in Appendix A, subject to mutually agreed rates, terms and conditions.

205. Continuing
Notwithstanding the ter:
Contract that reasonabl

by the provisions of this

206. Return of Operator’s Items

Upon termination of operations, Contractor shall return to Operator on board the Drilling Unit, or as directed by
Operator at Operator’s sole cost, any of Operator’s Items which are at the time in Contractor’s possession.

ARTICLE III - CONTRACTOR’S PERSONNEL

301. Number, Selection, Hours of Labor and Remuneration

Except where herein otherwise provided, the number, selection, replacement, hours of labor and remuneration of
Contractor’s Personnel shall be determined by Contractor. Such employees or subcontractors’ employees shal! be
the employees solely of Contractor or its subcontractors.

302. Contractor’s Representative

Contractor shall nominate one of its personnel as Contractor’s representative who shall be in charge of the remainder
of Contractor’s Personnel and who shall have full authority to resolve all day-to-day matters which arise between
Operator and Contractor.

303. Increase in Contractor’s Personnel
Operator may, at any time, with Contractor’s approval require Contractor to increase the number of Contractor’s
Personnel and the rates provided herein shall be adjusted accordingly.

304. Replacement of Contractor’s Personnel

Contractor will remove and replace in a reasonable time any of Contractor’s Personnel if Operator so requests in
writing and if Operator can show reasonable grounds for its request.

305. Statutory Employees

In all cases where Contractor’s employees (including Contractor’s and its subcontractors’ direct, borrowed, special,

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or statutory employees) are performing work in or offshore the State of Louisiana or are otherwise covered by the
Louisiana Workers’ Compensation Act, La, R.S, 23:1021 et seq., Operator and Contractor agree that the services
performed by Contractor and Contractor’s employees pursuant to this Contract are an integral part of and are essential
to the ability of Operator to generate Operator’s goods, products, and services for the purpose of La. R.S. 23:1061
(A) (1). Furthermore, Operator and Contractor agree that Operator is the statutory employer of Contractor’s
employees for purposes of La. R.S. 23:1061 (A) (3) and that Operator shall be entitled to the protections afforded a
statutory employer under Louisiana law.

ARTICLE IV - CONTRACTOR’S ITEMS

401. Obligation to Supply
Contractor shall provide Contractor’s Items and Personnel and perform the services to be performed by it in
accordance with Appendices B, C and D.

402. Maintain Stocks
Contractor shall be responsible, at its cost, for maintaining adequate stock levels of Contractor’s Items and
replenishing as necessary.

403. Maintain and R
Contractor shall, subjec
Contractor’s Items and
Operator, also maintain

‘enance and repair of all
tor shall, if requested by
hich Contractor is qualified to
and can maintain or repaif pment on board the Drilling
Unit, provided, however, that Operator shall at its cost pr | spare parts and materials required to maintain or
repair Operator’s Items, and the basic responsibility and liability for furnishing and maintaining such items shall
remain with Operator.

ARTICLE V - CONTRACTOR’S GENERAL OBLIGATION

501. Contractor’s Standard of Performance

Contractor shall carry out all operations hereunder on a daywork basis. For purposes hereof the term “daywork basis”
means Contractor shall furnish equipment, labor, and perform services as herein provided, for a specified sum per day
under the direction and supervision of Operator (inclusive of any employee, agent, consultant or subcontractor
engaged

by Operator to direct drilling operations). When operating on a daywork basis, Contractor shall be fully paid
at the applicable rates of payment and assumes only the obligations and liabilities stated herein. Except
for such obligations and liabilities specifically assumed by Contractor, Operator shall be solely
responsible and assumes liability for all consequences of operations by both parties while on a daywork
basis, including results and all other risks or liabilities incurred in or incident to such operations,
notwithstanding any breach of representation or warranty, either expressed or implied, or the negligence
or fault of Contractor, its employees, subcontractors, consultants, agents or servants, including sole,
concurrent or gross negligence, either active or passive, latent defects or unseaworthiness of any vessel
or vessels, including the Drilling Unit, (whether or not preexisting) and any liability based on any theory
of tort, breach of contract, breach of duty (whether statutory, contractual or otherwise), regulatory or
statutory liability, or strict liability, including defect or ruin of premises, either latent or patent.

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502. Operation of Drilling Unit

Subject to Paragraph 605, Contractor shall be responsible for the operation of the Drilling Unit, including supervising
moving operations and positioning on drilling locations as required by Operator. Operations under this Contract will
be performed on a twenty-four (24) hour per day basis.

503. Compliance with Operator’s Instructions

Contractor shall comply with all instructions of Operator consistent with the provisions of this Contract, including,
without limitation, drilling, well control and safety instructions. Such instructions shall, if Contractor so requires, be
confirmed in writing by the authorized representative of Operator, However, Operator shall not issue any instructions
which would be inconsistent with Contractor’s rules, policies or procedures pertaining to the safety of its personnel,
equipment or the Drilling Unit, or require Contractor to exceed the rated capacities of Contractor’s Items or the
minimum or maximum water depths or maximum well depth set forth in Appendix A.

504. Adverse Weather

Contractor, in consultation with Operator, shall decide when, in the face of impending adverse weather conditions,
to institute precautionary measures in order to safeguard the well, the well equipment, the Drilling Unit and personnel
to the fullest possible extent. Contractor and Operator shall each ensure that each senior representative on board will
not act unreasonably in the exercise of their discretion under this Paragraph.

é drilling fluid and casing
program as specified by Ope Sreasonably in advance of

the spud date of each wel}

506. Cutting/Coring Program

Contractor shall save and identify cuttings and cores according to Operator’s instructions and place them in containers
furnished by Operator.

507. Records to be Kept by Contractor

Contractor shall keep and furnish to Operator an accurate record of the work performed and formations drilled on the
TADC-API Daily Drilling Report Form or other form acceptable to Operator. A legible copy of said form signed by
Contractor’s representative shall be furnished by Contractor to Operator.

508. Difficulties During Drilling

In the event of any difficulty arising which precludes either drilling ahead under reasonably normal procedures or the
performance of any other operations planned for a well, Contractor may suspend the work in progress and shall
immediately notify the representative of Operator, in the meantime exerting reasonable effort to overcome the
difficulty. In the event Contractor is required to drill a relief well(s) or to undertake well control activities, such
operations may be subject to the consent of, and additional conditions imposed by, Contractor’s underwriters. Any
additional premiums and all deductibles shall be for Operator’s account during such operations,

509. ‘Well Control Equipment and Training

Subject to Article IX, Contractor shall maintain its well control equipment listed in Appendices B and D in good
condition at all times and shall use all reasonable means to prevent and control fires and blowouts and to protect the
hole; and agrees it shall have in place a training plan for Contractor’s Personnel which adheres to the requirements
ofthe U.S. Department of the Interior Minerals Management Service, if applicable, while performing work hereunder,

510. Inspection of Materials Furnished by Operator

Contractor agrees to visually inspect all materials furnished by Operator before using same and to notify Operator of
any apparent defects therein. Contractor shall not be liable for any loss or damage resulting from the use of materials
furnished by Operator.

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ARTICLE VI - OPERATOR’S OBLIGATIONS

601. Equipment and Personnel

Operator shall at its cost provide Operator’s Items and Operator’s Personnel and perform the services to be provided
or performed by it according to Appendix D. In addition to providing the initial supply of Operator’s Items, Operator
shall be responsible, at its cost, for maintaining adequate stock levels and replenishing as necessary. When, at
Operator’s request and with Contractor’ s agreement, Contractor furnishes or subcontracts for certain items or services
which Operator is required herein to provide, for purposes of this Contract said items or services shall be deemed to
be Operator furnished items or services. Any subcontractors so hired shall be deemed to be Operator’s contractor,
and Operator shall not be relieved of any of its liabilities in connection therewith. For furnishing said items and
services, Operator shall reimburse Contractor its entire cost plus a handling charge as specified in Appendix A.

602. Maintenance and Repair

Operator shall be responsible, at its cost, for the maintenance and repair of all Operator’s Items on board the Drilling
Unit which Contractor is not qualified to or cannot maintain or repair with Contractor’s normal complement of
personnel and the equipment on board.

603. Operator’s Representatives

Operator may from time to time designate representatives for the purpose of this Contract who shall at all times have
access to the Drilling Unitgifidanay, aniiy aithi bscrvente i eAT
performed by Contract cami
a senior representative to

‘will be present on board the
Drilling Unit. Contractor Unit as being in charge of
all Operator’s Personnel o o Contractor’s policies
regarding prohibition of alcoholic beverages, controlled substances, and contraband, including random searches and
tests. Operator further agrees that Operator’s Personnel who have duties which directly affect the safety operations
under this Contract shall be subject to and in compliance with applicable U.S. Coast Guard regulations with respect
to drug and alcohol testing.

604. Replacement of Operator’s Personnel

Contractor shall have the right to request in writing Operator to remove and replace any Operator’s Personnel on
board the Drilling Unit if Contractor can show reasonable grounds for such request.

605. Drilling Site and Access
Operator will be responsible for providing access to the drilling location, as well as selecting, marking, and clearing

drilling locations, for providing proper and sufficient certificates, including, without limitation, and if applicable, the
Certificate of Financial Responsibility required pursuant to the OCS Lands Act and/or the Oil Pollution Act of 1990
(OPA 90) as amended, permits or permission necessary to enter upon and operate on the drilling location, and for
notifying Contractor of any obstructions, impediments, faulty bottom conditions or hazards to operations in the area
of each drilling location or within the anchor pattern, including but not limited to wellheads, platforms, pipelines,
_ cables, boulders, and mud filled depressions. Operator will also provide Contractor with soil and sea bottom condition
surveys at each drilling location hereunder adequate to satisfy Contractor’s marine surveyor, In the event the Drilling
Unit is used over a platform, all surveys to determine the structural integrity of the platform will be the responsibility
of Operator.

Should seabed conditions be unsatisfactory to properly support or moor the Drilling Unit upon arrival at the drilling
location or during operations hereunder, Operator shall continue to pay Contractor the Standby Rate pursuant to
Paragraph 705 until seabed conditions are ultimately remedied.

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Notwithstanding any other provision of this Contract, should there be any obstructions, impediments,
faulty bottom conditions or hazards to operations at or within the area of the drilling location, including
the anchor pattern, and these obstructions, impediments, faulty bottom conditions or hazards to
operations damage Contractor’s Items, or Contractor’s Items damage these obstructions or impediments,
or if seabed conditions prove unsatisfactory to properly support or moor the Drilling Unit during
operations hereunder, Operator will be responsible for and hold harmless and indemnify Contractor for
all resulting damage, including payment of the Standby Rate during required repairs, but Operator will
receive credit for any physical damage insurance proceeds received by Contractor as a result of any
damage to the Drilling Unit. All expenses associated with improvements to the seabed and repositioning
of the Drilling Unit at the drilling location under this Paragraph 605 shall be for Operator’s account.

606. State or Local Tax Liability

In the event that Contractor, as a result of operations under this Contract in any state waters, determines that a tax
payment is due to an appropriate taxing authority or receives an assessment of tax directly by an appropriate taxing
authority, Contractor will, prior to making any payment, notify Operator of such determination or assessment. If
Contractor is required to pay the tax, Operator agrees to be responsible for and hold harmless and
indemnify Contractor from any and all claims with respect thereto. In addition, Operator will reimburse
Contractor any sums so paid.

701. Payment
Operator shall pay to Contracterd tragt the amo Ton e due, calculated to the

nearest hour, according to the rates of payment herein set forth and in accordance with the other provisions hereof,
notwithstanding any breach of representation or warranty, either expressed or implied, or the negligence or fault of
Contractor, its employees, subcontractors, consultants, agents or servants, including sole, concurrent or gross
negligence, either active or passive, latent defects or unseaworthiness of any vessel or vessels, including the Drilling
Unit, (whether or not preexisting) and any liability based on any theory of tort, breach of contract, breach of duty
(whether statutory, contractual or otherwise), regulatory or statutory liability, or strict liability, including defect or
ruin of premises, either latent or patent.

702. Mobilization Fee
In addition to Operator’s obligation to pay the Standby Rate in accordance with Paragraph 705 and to supply
Operator’s Items, Operator shall pay Contractor a Mobilization Fee as specified in Appendix A which shall be earned
on the date the Drilling Unit departs for the Operating Area.

703. Demobilization Fee

In addition to Operator’s obligation to pay the Standby Rate in accordance with Paragraph 705 and to supply
Operator’s Items, Operator shall pay Contractor a Demobilization Fee as specified in Appendix A which shall be
earned on the date of termination of this Contract.

704. Operating Rate
The Operating Rate specified in Appendix A will first become payable from the moment when the Drilling Unit

arrives at the first drilling location and commences either jacking operations or running anchors (whichever is

applicable). The Operating Rate shall continue to be payable throughout the durationofthe Contract, except as herein
otherwise provided.

705. Standby Rate
The Standby Rate specified in Appendix A will be payable as follows:

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(a) during any period of delay when Contractor is unable to proceed because of adverse sea or weather
conditions, including loop and eddy currents, or as a direct result of an act, instruction or omission of
Operator including, without limitation, the failure of any of Operator’s Items, or the failure of Operator
to issue instructions, provide Operator’s Items or furnish services;

(b) from the Commencement Date until the moment when the Operating Rate first becomes payable;

(c) during any period after the Commencement Date that the Drilling Unit is under tow, or under way,
provided that if, at the termination of this Contract, the Drilling Unit does not go to the location specified
in Appendix A, the period shall be the reasonably estimated time required to go to that location specified
in Appendix A;

(d) during any period after the Commencement Date that the Drilling Unit is undergoing periodic inspections
required for the maintenance of the Certification and Classification Certificates;

(e) during any period when operations are suspended to repair the Drilling Unit or other Contractor’s Items
as provided in Paragraph 605 or due to blowout, fire, cratering, shifting or punch through at a drilling
location;

() during any period when operations are being conducted hereunder to redrill or repair the hole drilled
hereunder which is lost or damaged as a result of Contractor’s sole negligence or wilful misconduct; and

e, repair time specified in

a eplacement or repair of
Contractor’s Items, except as provided in Paragraphs 605 and 707. Suspensions for routine maintenance and
inspections, such as lubrication, packing of swivels, changing of pump parts, slipping lines, servicing the top-drive,
testing BOP equipment, drill string inspections and any certification inspections, shall not be considered repair time
for purposes of this Paragraph.

me

707. Force Majeure Rate
The Force Majeure Rate specifigd in Appendix A will be payable during any period in which operations are not being

carried on because of Force Majeuréas détifted in Paragraph 1303, including periods required to repair damage caused
by a Force Majeure event, up to a maximum of thirty (30) consecutive days, after which and during the continuous
existence of the Force Majeure condition no rate will be payable and the Contract may be terminated at the option
of either party, subject to demobilization as provided in Paragraphs 703 and 705(c).

708. Additional Payments
Operator shall, in addition, pay to Contractor:

(a) the cost of any overtime paid by Contractor to Contractor’s Personnel in respect of the maintenance or
repair on board the Drilling Unit of Operator’s Items or other overtime required by Operator;

(b) Contractor’s costs associated with waiting on Operator furnished transportation or for time in excess of
two hours in transit to or from the Drilling Unit, or as a direct result of an act, instruction or omission of
Operator;

(c) in the event the Drilling Unit is taken into sheltered waters or harbor for inspection, repair, maintenance,
or structural defects, the related rig move costs and harbor expenses will be for Operator’s account;

(d) Contractor’s costs associated with evacuations and accommodations of personnel caused by adverse sea
or weather or other hazardous conditions; and

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(e) Contractor’s costs associated with moving Contractor’s Items and Personnel, and their personal effects,
if Contractor is required to change its Operating Base.

C 709, Variation of Rates 9
he rates and payment herein set forth shall be revised by the actual amount of the change in Cgntractor’s cost if an

event as described below occurs or if the cost of any of the items hereinafter listed shall increase BY more than the
amount indicated below from Contractor’s cost thereof on the Effective Date or by the same amount after the date
of any revision pursuant to this Paragraph:

(a) labor costs, including all payroll burden and benefits paid by Contractor for its employees;
(b) if Operator requires Contractor to increase the number of Contractor’s Personnel;

(c) ifit becomes necessary for Contractor to change the work schedule of its personnel or change the location
of its Operating Base or Operating Area;

(d) in the event described in Paragraph 1102;

(ec) if the cost of insurance premiums increases by five percent (5%) or more;

(f) if the cost of catering increases by five percent (5%) or more;

(g) if there is an i ion islati ificati ciety rules, including the
e den; and

on the Commencement
u of Labor Statistics Oil

ry U1 19102) as published by
the U.S. Department of Labor from that reported for the month of the 1 Effective Date. Said rates shall be
increased proportionately by the percentage specified in Appendix A for each change of five percent (5%)
in said Index.

ARTICLE VIII - INVOICES, PAYMENTS AND LIENS

801. Monthly Invoices
Contractor shall bill Operator at the end of each month, or at the end of each well, if sooner, for all daily charges

earned by Contractor. Other charges shall be billed as earned. Billings for daily charges will reflect details of the time
spent (calculated to the nearest hour) and the rate charged for that time. Billings for other charges will be
accompanied by invoices supporting costs incurred for Operator or other substantiation as reasonably required.
Contractor’s billings shall be delivered as specified in Appendix A.

802. Payment
Operator shall pay all invoices within thirty (30) days after the receipt thereof except that if Operator disputes an item

invoiced, Operator shall within twenty (20) days after receipt of the invoice notify Contractor of the amount disputed,
specifying the reason therefor, and payment of the disputed amount may be withheld until settlement of the dispute,
but payment shall be made of any undisputed portion. Any sums (including amounts ultimately paid with respect to
a disputed invoice) not paid within thirty (30) days after receipt of invoice shall bear interest at the rate specified in
Appendix A or the maximum allowed by law, whichever is less, from said due date until paid. Contractor shall have
the right, upon ten (10) days prior written notice, to terminate this Contract if Operator fails or refuses to timely pay
Contractor amounts due and owing to Contractor.

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803. Manner of Payment
All payments due by Operator to Contractor hereunder shall be made by wire transfer or as otherwise agreed to

Contractor’s bank account which is specified in Appendix A.

804, Financial Guarantee

If required by Contractor, Operator shall, prior to commencing operations under this Contract, provide Contractor
with a letter of credit or other financial security in an amount and form acceptable to Contractor. The security shal!
be worded to make the proceeds payable to Contractor upon presentation of a sight draft by Contractor.

805. Liens and Encumbrances

Operator shall have no right, power or authority to create, incur, or permit to be imposed upon the Drilling Unit any
liens or encumbrances whatsoever. Operator shall at all times be responsible for and hold harmless and
indemnify Contractor and the owners of the Drilling Unit from and against any and all claims, demands,
causes of action, damages, judgments, costs and expenses (including attorney’s fees, costs of litigation,
and the costs of bonds or other security) which may be incurred or suffered by Contractor or the owners
of the Drilling Unit resulting from or arising out of any lien or encumbrance filed, asserted or claimed
against the Drilling Unit created, incurred or permitted to be imposed by, through or under Operator.

RTICLE IX - LIABILITY

900. General
For the purposes of th
Items”, “Contractor’s
Article I.

901. Equipment or Property

(a) Except as specifically provided herein to the contrary, Contractor shall at all times be
responsible for and hold harmless and indemnify Operator from and against damage to or
loss of Contractor’s property, Contractor’s Items, and the property, equipment, material and
services of Contractor’s Affiliated Companies, partnerships, and limited liability companies,
and its and all of their co-owners, partners, co-venturers, joint owners, and its contractors and
subcontractors of any tier and the officers, directors, employees, agents, assigns,
representatives, managers, consultants, insurers and subrogees of each of the foregoing.
Except to the extent that the proceeds from Contractor’s insurance as made available to
Contractor do not compensate Contractor therefor,

S Items”, “Operator’s
canings as defined in

(1) Operator shall be responsible for and hold harmless and indemnify Contractor for loss or
destruction of or damage to Contractor’s drill pipe, drill collars, subs, reamers, bumper
subs, stabilizers and other in-hole equipment when such equipment is being used in the
hole below the rotary table, normal wear excepted. Abnormal wear and/or damage for
which Operator shall be responsible hereunder shall include, but not be limited to, wear
and/or damage resulting from the presence of H,S or other corrosive elements in the hole
including those introduced into the drilling fluid, excessive wear caused by sandcutting,
damage resulting from excessive or uncontrolled pressures such as those encountered
during testing, blowout, or in a well out of control, excessive deviation of the hole from
vertical, dog-leg severity, fishing, cementing or testing operations, and from any unusual
drilling practices employed at Operator's request. Operator’s responsibility for such
abnormal wear and/or damage as referred to herein shall include abnormal wear and/or
damage to Contractor’s choke hoses and manifolds, BOP and other appurtenant

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equipment. Operator shall pay the cost of repairing damaged equipment ifrepairable. In
the case of equipment lost, destroyed or damaged beyond repair, Operator shall reimburse
Contractor an amount equal to the then current replacement cost of such equipment
delivered to the Drilling Unit.

(2) Operator shall be responsible for and hold harmless and indemnify Contractor for damage
to or loss of Contractor’s subsea and mooring equipment, including without limitation,
chains, anchors, the riser, slip joint, choke and kill lines, flexible hoses, hydraulic hoses
and guidelines, subsea BOP, shackles, pendant lines and buoys, and shall reimburse
Contractor an amount equal to the then current replacement cost of such equipment
delivered to the Drilling Unit, or the repair cost, whichever is applicable.

(3) Operator shall be responsible for and hold harmless and indemnify Contractor for loss or
destruction of or damage, including corrosion and contamination, to Contractor's surface
equipment resulting from the presence of H,S, CO, or other corrosive elements introduced
into the drilling fluid (including elements introduced from the hole), or the presence of
naturally occurring radioactive materials (NORM). Operator shall pay the cost of
repairing and/or decontaminating damaged equipment if repairable. In the case of
equipment lost, destroyed, damaged or contaminated beyond repair, Operator shall
reimburse Contractor an amount equal to the then current replacement cost of such
equipm f the Dyillin ii ditign, no ding the provisions of

ination operations.

Mole nd, ify ontractor for damage
ing Unit caused by Operator furnished helicopters, tugs, supply or

service vessels,

(b) Contractor’s operating practices require the BOP stack to be operated at one (1) degree or less
from vertical to avoid abnormal wear and damage. In the event the stack angle exceeds one
(1) degree from vertical, Operator shall be responsible for and hold harmless and indemnify
Contractor for loss or damage to Contractor’s subsea and in-hole equipment which may
result. Operator shall pay the cost of repairing damaged equipment ifrepairable. In the case
of equipment lost, destroyed or damaged beyond repair, Operator shall reimburse Contractor
an amount equal to the then current replacement cost of such equipment delivered to the
Drilling Unit. In addition, notwithstanding the provisions of Paragraph 706 of this Contract,
the Standby Rate shall apply with respect to the period of time required to repair or replace
Contractor’s subsea and in-hole equipment that may occur or result from such loss or
damage.

(c) Operator shall at all times be responsible for and hold harmless and indemnify Contractor
from and against damage to or loss of Operator’s property, Operator’s Items, and the
property, equipment, material and services of Operator’s Affiliated Companies, partnerships,
and limited liability companies, and its and all of their co-owners, co-lessees, farmors,
farmees, partners, co-venturers, joint owners, and its contractors and subcontractors of any
tier (with the exception of Contractor and its subcontractors of any tier) and the officers,
directors, employees, agents, assigns, representatives, managers, consultants, insurers and
subrogees of each of the foregoing.

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902. The Hole

In the event the hole should be lost or damaged at any time, Operator shall, except as provided in
Paragraph 705(), be responsible for and hold harmless and indemnify Contractor and its suppliers,
contractors and subcontractors of any tier from such damage to or loss of the hole, including all
downhole property therein.

903. Contractor’s Personnel

Contractor shall at all times be responsible for and hold harmless and indemnify Operator from and
against all claims, demands and causes of action of every kind and character on account of bodily injury,
illness or death of Contractor’s Personnel or Contractor’s invitees or damage to their property.

904. Operator’s Personnel

Operator shail at all times be responsible for and hold harmless and indemnify Contractor from and
against all claims, demands, and causes of action of every kind and character on account of bodily injury,
illness or death of Operator’s Personnel or Operator’s invitees or damage to their property.

905. Pollution and Contamination
Notwithstanding anything to the contrary contained herein, the responsibility for pollution or
contamination shall at all times be as follows:

ify Operator for control and
@sitiface of the water from
jilseh uid and attendant cuttings,

, Dilg garbage Hiractor’s possession and
control and directly associated with Contractor’s equipment and facilities. For purposes
hereof the term “normal water base drilling fluid” means drilling fluid which does not exceed
toxicity limits specified for offshore discharges by the environmental protection entity having
jurisdiction over the Operating Area.

(b) Operator shall be responsible for and hold harmless and indemnify Contractor and its
suppliers, contractors and subcontractors of any tier against all claims, demands, and causes
of action of every kind and character (including control and removal of the pollutant
involved) arising directly or indirectly from all pollution or contamination (including
radioactive contamination), other than that described in Paragraph 905(a) above, which may
occur including, but not limited to, that which may result from fire, blowout, cratering,
seepage or any other uncontrolled flow of oil, gas, water or other substance, as well as the use
of or disposition of radioactive sources, lost circulation and fish recovery materials and fluids,
oil emulsion, oil base or chemically treated drilling fluids and attendant cuttings, and drilling
fluids other than “normal water base drilling fluid” defined in Paragraph 905(a) above.

(c) In the event a third party commits an act or omission which results in pollution or
contamination for which either Contractor or Operator for whom such party is performing
work is held to be legally liable, the responsibility therefor shall be considered, as between
Contractor and Operator, to be the same as if the party for whom the work was performed had
performed the same and all of the obligations and limitations set forth in Paragraphs 905(a)
and (b) above, shall be specifically applied.

906. Debris Removal and Cost of Control
Operator shall at all times be responsible for and hold harmless and indemnify Contractor for the cost
of removal of debris (including Contractor’s Items) to the extent that proceeds from Contractor’s

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insurance as made available to Contractor do not compensate Contractor therefor. Operator shall at all
times be responsible for and hold harmless and indemnify Contractor for the cost of regaining control
of any wild well.

907, Underground Damage
Operator shall at all times be responsible for and hold harmless and indemnify Contractor and its

suppliers, contractors and subcontractors of any tier from and against any and all claims on account of
injury to, destruction of, or loss or impairment of any property right in or to oil, gas or other mineral
substance or water, if at the time of the act or omission causing such injury, destruction, loss, or
impairment, said substance had not been reduced to physical possession above the seabed, and for any
loss or damage to any formation, strata, or reservoir beneath the seabed.

908. Patent Liability

Contractor shall at all times be responsible for and hold harmless and indemnify Operator from and
against any and all loss or liability arising from infringement of patents of the United States covering
equipment furnished by Contractor. Operator shall at all times be responsible for and hold harmless and
indemnify Contractor from and against any and all loss or liability arising from infringement or alleged
infringements of patents covering the property, equipment, methods or processes furnished or directed
by Operator.

909. Conse
Subject to and witho
obligations of the parti

je payment rights and
ligations of the parties,

eSDE g é hi te other party from and
against its own special, indirect or consequential damages, and the parties agree that special, indirect or
consequential damages shall be deemed to include, without limitation, the following: loss of profit or
revenue; costs and expenses resulting form business interruptions; loss of or delay in production; loss
of or damage to the leasehold; loss of or delay in drilling or operating rights; cost of or loss of use of
property, equipment, materials and services, including without limitation those provided by contractors
or subcontractors of every tier or by third parties.

Operator shall at all times be responsible for and hold harmless and indemnify Contractor from and
against all claims, demands and causes of action of every kind and character in connection with such
special, indirect or consequential damages suffered by Operator’s co-owners, co-venturers, co-lessees,
farmors, farmees, partners and joint owners.

910. Termination of Location Liability

Notwithstanding any other provisions of this Contract, once the Drilling Unit is under way from the well
location, Operator shall be responsible for and hold harmless and indemnify Contractor for loss or
damage to property, personal injury or death of any person which occurs thereafter as a result of the
condition of the well or the location and Contractor shall be relieved of such liability.

S11, Indemnity Obligation

(a) The parties intend and agree that the phrase “be responsible for and hold harmless and
indemnify” in Paragraphs 605, 606, 805 and 901 through 910 hereof means that the
indemnifying party shall release, indemnify, hold harmless and defend (including payment
of reasonable attorney’s fees and costs of litigation) the indemnified party from and against
any and all claims, demands, causes of action, damages, judgments and awards of any kind
or character, without limit and without regard to the cause or causes thereof, including
claims, demands, and causes of action arising out of operation of any vessel or vessels
(including the Drilling Unit), including ingress and egress to the well location, and loading
and unloading of personnel and cargo, and also including preexisting conditions, defect or
ruin of premises or equipment (whether such conditions, defect or ruin be patent or latent),
the unseaworthiness of any vessel or vessels (including the Drilling Unit), breach of

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representation or warranty (express or implied), breach of duty (whether statutory,
contractual or otherwise), strict liability, any theory of tort, breach of contract, fault,
regulatory or statutory liability, products liability, the negligence of any degree or character
(whether such negligence be sole, joint or concurrent, active, passive or gross) of any person
or persons, including such negligence of the party seeking the benefit of a release, indemnity
or assumption of liability, or any other theory of legal liability,

(6) An indemnifying party’s obligations contained in this Contract shall extend to the indemn ified
party and shall inure to the benefit of such party, its Affiliated Companies, and their co-
owners, Co-venturers, co-lessees, farmors, farmees, and joint owners, and the officers,
directors, stockholders, partners, managers, representatives, employees, consultants, agents,
servants and insurers of each, and to actions against the Drilling Unit, its legal and beneficial
owners, whether in rem or in personam.

(c) Except as otherwise provided herein, the terms and provisions of Paragraphs 605, 606, 805
and 901 through 916 shall have no application to claims or causes of action asserted against
Operator or Contractor which arise solely by reason of any agreement of indemnity with a
person or entity not a party hereto, Except as otherwise provided herein, nothing contained
herein shall confer any rights upon any third party beneficiary.

912. General Inten
The parties recognize
those to be performe

ated activities such as
death, damage or loss of
property, well loss or é and other losses and
liabilities. It is the intention 1€ pa rat th tht é IX and Paragraphs
605, 606 and 805 shall exclusively govern the allocation of risks and liabilities of said parties without
regard to cause (as more particularly specified in Paragraph 911), it being acknowledged that the
compensation payable to Contractor as specified herein has been based upon the express understanding
that risks and liabilities shall be determined in accordance with the provisions of this Contract.

ARTICLE X - INSURANCE

1001. Insurance

Contractor shall carry and maintain, or cause to be carried and maintained, insurance coverages of the type and in the
amounts set forth in Appendix E, covering only those liabilities specifically assumed by Contractor under this
Contract.

All references in this Contract to “insurance” of Contractor shall mean such insurance as set forth in Appendix E.
Contractor shall have the right to self-insure any or all of that portion of insurance relating to loss or damage to
Contractor’s Items.

Operator shall carry and maintain, or cause to be carried and maintained, the insurance coverages of the types and
amounts set forth in Appendix F, covering only those liabilities specifically assumed by Operator under this Contract.

All references in this Contract to “insurance” of Operator shall mean such insurance as set forth in Appendix F.
Operator shall have the right to self-insure any or all of that portion of insurance relating to loss or damage to
Operator’s Items.

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1002. Certificates

Each party will furnish the other, on request, certificates indicating that the required insurance is in full force and
effect and that the same shall not be canceled or materially and adversely changed without ten (10) days prior written
notice to the other party.

1003. Subrogation
For liabilities assumed hereunder by Contractor, its insurance shall be endorsed to provide that the underwriters waive

their right of subrogation against Operator, its Affiliated Companies and their co-owners, co-venturers, co-lessees,
farmors, farmees, and joint owners and the officers, directors, stockholders, partners, managers, representatives,
employees, consultants, agents, servants and insurers of each. Operator will, as well, cause its insurer to waive
subrogation against Contractor and Contractor’s Affiliated Companies and their co-owners, and the officers, directors,
stockholders, partners, managers, representatives, employees, consultants, agents, servants and insurers of each for
liabilities it assumes.

1004, Additional Insured
Contractor shall name Operator as additional insured, where permitted, under its policies of insurance, but only with
respect to and to the extent of the liabilities specifically assumed by Contractor under this Contract. Operator shall
name Contractor as additional insured, where permitted, under its policies of insurance, but only with respect to and
to the extent of the liabilities specifically assumed by Operator under this Contract

1101. Subcontracts 5 S i
Either party may employ other contractors to perform any
by it.

of the operations or services to be provided or performed

1102. Assignment
Neither party may assign this Contract other than to an Affiliated Company without the prior written consent of the

other, and prompt notice of any such intent to assign shall be given to the other party. In the event of such assignment,
the assigning party shall remain liable to the other party as a guarantor of the performance by the assignee of the terms
of this Contract. If any assignment is made that increases Contractor’s financial burden, Contractor’s compensation
shall be adjusted to give effect to any increase in Contractor’s operating costs or taxes.

ARTICLE XII - NOTICES

1201. Notices

Notices, reports and other communications required or permitted by this Contract to be given or sent by one party to
the other shall be delivered by hand, mailed, digitally transmitted or telecopied to the address as specified in Appendix
A. Either party may by notice to the other party change its address. Notices shall be effective upon receipt.

ARTICLE XI - GENERAL

1301. Confidential Information

Upon written request of Operator, all information relating to the well obtained by Contractor in the conduct of
operations hereunder shall be held confidential by Contractor who will use the same degree of care it uses in
safeguarding its own confidential information.

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1302, Attorney’s Fees
If this Contract is placed in the hands of an attorney for collection of any sums due hereunder, or suit is brought on

same, or sums due hereunder are collected through bankruptcy or arbitration proceedings, then the prevailing party,

Be entitiversa.tecover Teasonable attorney’s fees and costs of litigation.

1303. Force Majeure
Except as otherwise provided yf this Paragraph 1303 and without prejudice to the risk of loss, release and indemnity

however, adverse sea or weather conditions including loop and eddy currents but excluding tropical storms), inability ‘
to obtain equipment, supplies, fuel or necessary labor, or by any act or cause (other than financial distress or inability ©

to pay debts when due) which is reasonably beyond the control of such party, such cause being herein sometimes
called “Force Majeure.” Neither Operator nor Contractor shall be required against its will to adjust any labor or
similar disputes except in accordance with applicable law. In the event that either party hereto is rendered unable,
wholly or in part, by any of these causes to carry out its obligation under this Contract, such party shall give notice
and details of Force Majeure in writing to the other party as promptly as possible after its occurrence. In such cases,

the obligations of the party giving the notice shall be suspended during the continuance of any inability so caused
except that Operator shallg§ ided for in Paragraph 707.

1304. Right to Audit :
For a period of two years!
of operations hereunder a

p
variation of the rates under Paragraph 709 or charges for reimbursable items.

, records and accounts
ns thereof related to any

1305. Compliance with Laws
Each party hereto agrees to comply with all laws, rules and regulations of any federal, state or local government

authority which are now or may become applicable to that party’s operations covered by or arising out of the
performance of this Contract. When required by law, the terms of Appendix G shall apply to this Contract. In the
event any provision of this Contract is inconsistent with or contrary to any applicable federal, state or local law, rule
or regulation, said provision shall be deemed to be modified to the extent required to comply with said law, rule or
regulation, and as so modified said provision and this Contract shall continue in full force and effect. If any act or
omission by Contractor in response to an instruction of Operator’s Personnel violates such law, Operator
shall indemnify Contractor for any consequences thereof.

1306. Waivers

It is fully understood and agreed that none of the requirements of this Contract shall be considered as waived by either
party unless the same is done in writing, and then only by the persons executing this Contract, or other duly authorized
agent or representative of the party.

1307. Entire Agreement
This Contract constitutes the full understanding of the parties, and a complete and exclusive statement of the terms

of their agreement, and shall exclusively control and govern all work performed hereunder. All representations,
offers, and undertakings of the parties made prior to the effective date hereof, whether oral or in writing, are merged
herein, and no other contracts, agreements or work orders, executed prior to the execution of this Contract, shall in
any way modify, amend, alter or change any of the terms or conditions set out herein.

1308. Enurement
This Contract shall enure to the benefit of and be binding upon the successors and assigns of the parties.

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IN WITNESS WHEREOF THE PARTIES HAVE EXECUTED THIS CONTRACT ON THE DAY AND
YEAR FIRST ABOVE WRITTEN.

OPERATOR:

BY:

TITLE:

CONTRACTOR:

BY:

TITLE:

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Attached to and incorporated as a part of that certain Contract dated
Paragraph

Number:
101 ®
101 (g)
202

203 (b)

203 (b) &
705 (c)

204

503

601
702
703
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705
706

707
709 (h)

801

Operating Area:
Operating Base:
Duration:

Termination:

Demobilization Location:

Option Term:
Option Notice:
Deadline for Mutual
Agreement:
Maximum
Minimum

Maximum WellDepth:

Handling Charge:
Mobilization Fee:
Demobilization Fee:
Operating Rate:
Standby Rate:

Repair Rate:

Repair Time at Prior
Applicable Rate:

orce Majeure Rate:
eure ©

Percentage Increase

for Variation of Rate

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APPENDIX A

(Date or Number of Wells)

days after spud of prior well

itice of exercise of option

%
US. $
US. $
US. $ per day
US. $ per day
U.S. $ per day

Surface Equipment: per occurrence

Address for Contractor’s

Subsea Equipment: per occurrence
US. $ per day
Telecopier:

Attention:

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802 Interest Rate on Late
Payments: per annum
803 Address for Payment:
Acct. No.
1201 Address for Notices:
Operator:
Telecopier:
Attention:
Contractor:

Special Provisions:

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APPENDIX B
DRILLING UNIT AND EQUIPMENT TO BE PROVIDED BY CONTRACTOR

I. Drilling Unit Description

IE. Equipment Inventory

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APPENDIX C
PERSONNEL TO BE PROVIDED BY CONTRACTOR
Classification Number on Board Total Number Work Schedule

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APPENDIX D
CHECKLIST OF CONTRACTOR’S AND OPERATOR’S OBLIGATIONS
Category

Furnished by Contractor, paid by Contractor i

Furnished by Contractor, paid by Operator, plus handling charge 2

Furnished by Contractor, paid by Operator, no handling charge 3

Furnished by Operator, paid by Operator 4
I, Contractor’s Items as set forth in Appendix B. I
2. Except as otherwise specified, maintenance and repair, including repair parts, of Contractor’s

Items. I]
3. Maintenance and repair, including repair parts, of Operator’s Items except as provided in

Paragraph 403. 4
4. All charges relative previded in

Items 61, 62, 64, 65 or spare

parts, ]
5. Contractor’s Perso ing ;. A ehisi and all

other costs related thereto, except for increases pursuant to Paragraph 709. ]
6. Extra personnel in excess of the complement of personnel set forth in Appendix C when

requested in writing by Operator. 3
7. Overtitne beyond normal work schedule for Contractor’s Personnel when requested in writing

by Operator. 3
8. Required licenses, permits, certificates of financial responsibility and clearances to enter upon

and depart from drilling location, pursuant to Paragraph 605. 4
9. Surveying service and marker buoys to mark drilling location. 4
10. Sea floor surveys required by Contractor’s Marine Surveyer. 4
11. Sea bottom coring services at the drilling location if required by Contractor. 4
12. Fuel, oil, greases, lubricants and hydraulic fluid for Contractor’s Items and Operator’s Items.

a. Fuel; 4

b. Oil, greases, lubricants and hydraulic fluid. 3
13. Water for drilling, washdown and cementing and excess potable water, if required. 4
14, Drilling fluid and additives including lost circulation material, 4
15. Mud logging services, 4
16. Normal welding services required on Operator’s Items to the extent available from Contractor’s

Personnel. I
17. Welding materials used on Operator’s Items. 2

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Pneumatic hoses between supply vesseis and Drilling Unit for unloading fuel, water, bulk
cement and mud materials including repair and replacement of same:

a. Initial hoses;

b. All replacements.

Mooring system between supply vessels and Drilling Unit including repair and replacement:
a. Initial;

b. All replacements.

Pre-slung cargo and pre-slung cargo baskets for use in transporting Contractor’s Items to and
from supply vessels.

-Pre-slung cargo and pre-slung cargo baskets for use in transporting Operator’s Items to and

from supply vessels,

Towing service for all Drilling Unit moves, as approved by Contractor’s insurance underwriters.
Tow lines and bollards.

Anchor setting and retrieving with marine vessels including anchor handling crews, if required.

Additional anchors and buoy lines, if required, including all repairs and replacement.

Operator,

Drill pipe casing protectors (one per joint inside conductor or surface casing) on Contractor’s
drill pipe.

a. All additional rubbers or replacements for rubbers installed.

Drill pipe casing protectors on other drill pipe furnished by Operator, if required by Operator.
Kelly saver sub rubbers, and replacements, for kellys furnished by Contractor.

Drill pipe wipers.

Fishing tools other than provided by Contractor as set forth in Appendix B.

Repair and/or replacement parts for Contractor furnished fishing tools.

Drilling bits, stabilizers, hole openers, reamers, under-reamers, well scrapers, drilling bumper
subs, drilling safety joints, hydraulic drilling jars, and other special in-hole equipment, including
replacement parts and repairs for same.

Directional surveying equipment and service.

Deflection drilling tools and service.

Drill pipe, drill collars and handling tools other than those specified in Appendix B,
Blowout prevention equipment other than as listed in Appendix B,

Wellhead equipment and supplies.

Tubular goods, hangers, packers and accessories.

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Casing shoes, float collars, baskets, centralizers, scratchers, scrapers, baffles and other casing
accessories.

Casing tools as provided in Appendix B.
a. All repairs and replacements, if used.

Tubing tools, including slips, elevators, power tongs (or jaws for Contractor’s power tongs),
wrenches, and tubing pipe wiper.

Swabbing equipment, including lubricator, swab valve, swabs, oil savers, sinker bars, rope
sockets and jars, if required (except sand line).

Swab rubbers and oil saver rubbers.

Core barrels and handling tools.

Core heads and core catchers.

Wireline logging unit, maintenance of unit and logging services.

Wireline formation testing and sidewall sampling equipment and services.
Drill stem test equipment and services.

Gun and perforating &

Cement and cementi

Cementing if speciff xp

NOTE: If Operator uses the services of a cementing service company other than the owner
of the cementing unit, any charges imposed upon Contractor by the owner of the cementing
unit as consequence thereof shall be for Operator’s account.

Repair and maintenance of Contractor furnished cementing unit,

Labor to install servicing equipment by Operator aboard the Drilling Unit and for later removal,
if required, including, but not limited to, cementing unit, wireline logging unit, mud logging unit,
diving equipment and well testing system.

Supplies and materials to install Operator’s Items.

Well testing system complete with separators, heaters, gas vents, metering, piping and valves, oil
and/or gas burner, necessary booms, piping igniters, fabrication and installation.

Test tanks for well fluid.

Administrative center including offices, office furniture, equipment and supplies for Contractor’s
Personnel, warehousing and storage yard at Operating Base for Contractor’s Items, if required.

Administrative center including offices, office furniture, equipment and supplies for Operator’s
Personnel, warehousing and storage yard facilities for Operator’s Items.

Port facilities and dockside area in vicinity of Operating Base for loading and unloading
Contractor’s and Operator’s Items on and off supply vessels.

Transportation for Contractor’s Items and Personnel:

a. Routine transportation from point of origin to Operating Base;
b. Routine transportation from Operating Base to and return from dockside and/or heliport;
c, Routine transportation from one Operating Base to another;

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d. Temporary lodging, if required, and transportation from Operating Base to and return from

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dockside and/or heliport and between Operating Bases during evacuation due to weather or other

safety reasons;
e. Emergency transportation for both Operator and Contractor, as required.

‘Transportation for Operator’s Items and Personnel to dockside at Operating Base or point of
departure and return.

Dockside labor and equipment at Operating Base to load and unload Contractor’s and Operator’s
Items from or to land transportation and from or to supply vessels.

Marine transportation for Contractor’s and Operator’s Items and Personnel from dockside to
Drilling Unit and return with supply vessels supplied by Operator:

a. Crew boats to transport personnel of Operator and Contractor, if required;
b. Standby boat, if required.

Storage space at dock site for Contractor’s Items.
Storage space at dock site and Operating Base for Operator’s Items.
Onshore transportation for Contractor’s shorebased personnel.

Onshore transportati

Fees, licenses, pilotdé
any sales taxes or c
replacements or spare:

Fees, licenses, pilotage fees, wharfage fees, harbor fees and costs or similar charges including
any sales taxes or clearing agent or brokerage fees relating to Operator’s Items and
replacements or spare parts.

Communication system from Drilling Unit to supply vessel and supply vessel to Operator’s
Operating Base office or direct to Operating Base, including permits and licenses:

a. Communication system from Drilling Unit to Contractor’s office or shore base, including
permits and licenses;
b. Communication system operators.

All helicopter transportation as required including medical evacuation.
a. Non-directional beacon for helicopter operations.

Helicopter refueling system aboard Drilling Unit including helicopter fuel tanks, fuel tank stand,
fuel pump filters, hoses and grounding systems.

Helicopter fuel and lubricants.
Special or additional helicopter safety equipment aboard Drilling Unit.
Diver services as required.

Meals and quarters for all of Contractor’s Personnel and up to and including
Operator’s Personnel.

Meals and quarters for Operator’s Personnel in excess of per day to be
charged at $ per meal and $ per bed,

Waste storage, removal and disposal, including any required registration and permits.
{Operator to provide State and/or Federal waste generator number, if required).

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Insurance as provided in Appendix E.
Insurance as provided in Appendix F.

Maintenance and repair including repair parts:

a. OfContractor’s surface equipment except as provided in Paragraphs 605 and 901:
b. Rubber goods in Contractor’s BOP’s;

c. Of Contractor’s subsurface equipment as provided in Paragraphs 605 and 901;

d. Of Contractor’s subsurface mooring equipment including pendant lines.

Extra labor (in excess of supply vessel’s personnel) required aboard supply vessels when
alongside Drilling Unit to unload or load Contractor’s and/or Operator’s Items.

Anchor piles, if required, and placement of same.

Subsea equipment:

Wellhead equipment;
Wellhead connector from BOP stack to as specified in Appendix B;

Subsea running tools for wellheads, if required;

Contractor’s surface or subsea blowout preventer system as described in Appendix B;
Wellhead temporary guidebase, if required;
ucturesif requi

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required;
Repair and/or r

moe

Screens for shale shakers up to and including
a. Screens for shale shakers above

All screens for mud cleaners.

Weather forecast services, if required.

Conductor drive hammer and accessories, if applicable, including repairs and/or replacement.

Personal protective equipment for Contractor’s Personnel when using or handling corrosive or

hazardous materials.

Any PVT equipment or other monitoring devices other than specified in Appendix B.

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II.
Standard comprehensive form including all owned, hired and non-owned vehicles witha $1 ,000,000 combined single

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APPENDIX E
CONTRACTOR’S INSURANCE

Workers’ Compensation and Employer’s Liability

A. Workers’ Compensation insurance to comply fully with the provisions and applicable laws of the country
or state in which the Contractor qualifies as an employer and in which operations hereunder are performed,
including U.S. Longshore & Harbor Workers Act and Outer Continental Shelf Lands Act coverage, if

applicable.
B, Employer’s Liability with limits of:

Bodily Injury by Accident - $1,000,000 each accident
Bodily Injury by Disease - $1,000,000 policy limit
Bodily Injury by Disease - $1,000,000 each employee

€. Maritime Employer’s Liability including Jones Act and Death on the High Seas Act coverage and
transportation, wages, maintenance and cure with limits of $1,000,000 each person/$1,000,000 each

accident.

D. “In rem” endorsement.

E. Borrowed Se

A. Commercial General Liability, Protective Liability including coverage for premises/operations, contractor’ s

protective liability, contractual liability and products/compieted operations coverage and subject to a
$1,000,000 combined single limit of liability each occurrence for Bodily Injury and Property Damage.

B. Charterer’s Legal Liability.

C. Deletion of watercraft exclusion as respects operations and contractual liability for watercraft exposure not

covered by Protection and Indemnity policy.

D, “In Rem” endorsement,

Automobile Liability Insurance

limit of liability each accident for bodily injury and/or property damage.

IV. Aircraft Liability

Aircraft liability including contractual liability covering all owned (if any) hired and non-owned aircraft (fixed wing
and rotary) including passenger liability with a $5,000,000 combined single limit of liability each accident

injury and/or property damage.

V.

Excess/Umbrella Liability Insurance

1. Providing following form coverage for Employer’s Liability, Maritime Employer’s Liability Commercial

General Liability, Automobile Liability, Aircraft Liability, and Vessel Liabilities.

2. Limit of Liability: $ combined single limit of liability each occurrence for bodily injury

and/or property damage.

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for bodily
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VI. Marine Insurance

1, Hull and Machinery Insurance (including collision liability) shall be provided for the Drilling Unit owned
or chartered by Contractor and utilized in the performance of this Contract in an amount equal to the
declared value of the Drilling Unit, subject to a deductible determined by Contractor.

2. Protection and Indemnity Insurance or equivalent comprehensive general liability insurance, with watercraft
exclusion deleted, shall be provided with a combined single limit of U.S. $ per occurrence
or the value of the Drilling Unit, whichever is greater.

VII. No Recourse of Premium

All policies of insurance shail be endorsed to delete any recourse of premium, club calls, assessments or advances
against Operator, Operator’s Affiliated Companies, partnerships, and limited liability companies, and its and all of
their co-owners, partners, co-veniurers, and joint owners.

VIII. Deductibles
Except as otherwise provided deductibles shall be for the account of Contractor.

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APPENDIX F

OPERATOR’S INSURANCE

L Workers’ Compensation/Employer’s Liability

A. Workers’ Compensation insurance to comply fully with the provisions and applicable laws of the country
or state in which the Operator qualifies as an employer and in which operations hereunder are performed,
including U.S. Longshore & Harbor Workers Act and Outer Continental Shelf Lands Act coverage, if
applicable

B. Employer’s Liability with limits of:

Bodily Injury by Accident - $1,000,000 each accident
Bodily Injury by Disease - $1,000,000 policy limit
Bodily Injury by Disease - $1,000,000 each employee

C. Maritime Employer’s Liability including Jones Act and Death on the High Seas Act coverage and
transportation, wages, maintenance and cure with limits of $1,000,000 each person/$1,000,000 each
accident.

D. “Inrem” endo t.

TI,

A. Commercial General Liability including coverage for premises/operations, contractor’s protective liability,
contractual liability and products/completed operations coverage and subject to a $1,000,000 combined
single limit of liability each occurrence for Bodily Injury and Property Damage.

B. Underground Resource/Equipment Coverage.
€. Charterer’s Legal Liability.

D. Deletion of watercraft exclusion as respects operations and contractual liability for watercraft exposure not
covered by Protection and Indemnity policy.

E. “In Rem” endorsement.
Ill. Automobile Liability Insurance

Standard comprehensive form including all owned, hired and non-owned vehicles with a $1,000,000 combined single
limit of liability each accident for bodily injury and/or property damage.

IV. Aireraft Liability

Aircraft liability including contractual liability covering all owned (if any) hired and non-owned aircraft (fixed wing
and rotary) including passenger liability with a $5,000,000 combined single limit of liability each accident for bodily
injury and/or property damage.

VY. Excess/Umbrella Liability Insurance

1, Providing following form coverage for Employer’s Liability, Maritime Employer’s Liability Commercial
General Liability, Automobile Liability, Aircraft Liability, and Vessel Liabilities.

2. Limit of Liability: $ combined single limit of liability each occurrence for bodily injury
and/or property damage.

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VI. “All Risk” Insurance
“All Risk” Insurance, subject to a nominal deductible, covering physical loss or damage (including wreck/debris
removal) to all Operator’s Items and other property of Operator.

VIL, Operator’s Extra Expense Insurance

Operator’s Extra Expense Insurance in the amount of not less than U.S. $ combined single
limit per occurrence to cover any and all sums which Operator and/or Contractor may be obligated to incur as
expenses and/or liabilities which may be incurred on account of bringing under control an oil or gas well which is out
of control or extinguishing an oil or gas well fire, redrilling or repair of loss or damage to an oil or gas well, seepage
and pollution, cleanup and contamination arising from operations under this Contract,

VIII. No Recourse of Premium
All policies of insurance shail be endorsed to delete any recourse of premium, club calls, assessments or advances
against any member of Contractor, and its Affiliated Companies, partnerships and limited liability companies,

IX. Deductibles
Except as otherwise provided deductibles shall be for the account of Operator.

X.  Qperator’s Certificate of Financial R p ity

Operator shall provide a sili
applicable, for operations

izPollution Act of 1990, as

The above specified amoutt d types of insura ute, or be construed as,

a limitation on Operator’s liability under the Contract.

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APPENDIX G
(See Paragraph 1305)
The following clauses, when required by law, are incorporated in the Contract by reference as if fully set out:

1. The Equal Opportunity Clause prescribed in 41 CFR 60-1.4.

2. The Affirmative Action Clause prescribed in 41 CFR 60-250.4 regarding veterans and veterans of the
Vietnam era,

3. The Affirmative Action Clause for handicapped workers prescribed in 41 CFR 60-741.4.
4, The Certification of Compliance with Environmental Laws prescribed in 40 CFR 15.20.

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